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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,

           Plaintiff,
                  v.                                    Civil Action No. 20-3590 (JEB)


 META PLATFORMS, INC.,

           Defendant.




                                             ORDER

          The Court ORDERS that the following deadlines shall govern pretrial procedures in this

matter:

 Event                                                       Date
 January JSR filing                                          January 16, 2025, at 5:00 p.m. EST
 Exchange of preliminary witness and exhibit lists           January 27, 2025
    • Preliminary witness lists shall identify: name of
        witness; whether the party presently intends that
        it “will call” or “may call” the witness; current
        or former relevant employer; contact
        information, including contact information for
        counsel, if known; a brief description of the
        testimony to be elicited from the witness; and
        whether the party intends to present each witness
        via live testimony or through video designation.
        The FTC will also make best efforts to identify
        which witnesses it presently anticipates it may
        call in rebuttal versus case-in-chief, reserving all
        rights to change such dispositions in its final
        witness list and amend its list of rebuttal
        witnesses in response to Meta’s witness
        disclosures.
    • Preliminary exhibit lists shall list exhibits by title
        and date, if known, and include a description of


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        each exhibit the party may offer in evidence
        (other than those created at trial).
    • Preliminary exhibit lists need not include the
        following: documents used solely for
        impeachment; deposition transcripts that the
        party may designate or cite in proposed findings;
        Rule 1006 exhibits; or illustrative aids. If a
        party does not include an exhibit on its
        preliminary exhibit list, that party shall not be
        prevented from including that exhibit on its final
        exhibit list or from introducing it for good cause.
Submission of proposed time allotments, exhibit list           February 7, 2025
caps, and, if needed, limits on motions in limine
February JSR filing                                            February 17, 2025, at 5:00 p.m.
    • Parties to propose schedule for completing               EST
        deposition designation exchange process
Date for filing of all motions in limine and other pretrial    February 21, 2025
motions
    • All oppositions to motions in limine or pretrial
        motions shall be due by March 7, 2025.
    • All replies in support of motions in limine or
        pretrial motions shall be due by March 14, 2025.
Deadline for submission of parties’ proposed                   February 24, 2025
confidentiality procedures
Final pretrial statement (pursuant to L.R. 16.5),              March 10, 2025
including:
    • Final witness lists, see L.R. 16.5(b)(1)(iv);
    • Final exhibit lists (including objections), see
        L.R. 16.5(b)(1)(v); and
    • Final video deposition designations, see L.R.
        16.5(b)(1)(vi).

Final witness lists shall comply with Local Rule
16.5(b)(5) and also include whether the party intends to
present each witness via live testimony or through a
videotaped deposition.

Final exhibit lists shall comply with Local Rule
16.5(b)(6). Final exhibit lists need not include:
documents used solely for impeachment; Rule 1006
exhibits; or illustrative aids.

Final deposition designations shall comply with Local
Rule 16.5(b)(7).



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 To the extent post-trial submissions of evidence are
 permitted, final witness and exhibit lists, and deposition
 designations, shall include materials (both testimony,
 via the witness list and deposition designations, and
 documents via exhibit lists) that a party intends to
 introduce post-trial.
 Date by which both sides must disclose their proposed          March 17, 2025
 order for all witnesses they may call live at trial and any
 written deposition excerpts either party will introduce at
 trial or seek to file at the conclusion of its case.
 Pretrial conference                                            March 24, 2025
 Pretrial briefs due                                            April 7, 2025
 Trial begins                                                   April 14, 2025

       In addition, Meta shall provide by January 16, 2025, to the FTC blackout dates in the first

four weeks of trial for its executives identified as pretrial witnesses by the FTC. By January 27,

2025, the FTC will provide the dates on which they will be called as witnesses.



                                                                /s/ James E. Boasberg
                                                                JAMES E. BOASBERG
                                                                Chief Judge
Date: December 20, 2024




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